Case 1:15-md-02599-FAM Document 844 Entered on FLSD Docket 11/10/2015 Page 1 of 5



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                            MDL No. 2599

                                Master File No. 15-2599-MD-Moreno

               S.D.Fla. Case No. 14-24009-CV-MORENO (Economic Loss Track)
               S.D.Fla. Case No. 15-20664-CV-MORENO (Personal Injury Track)

   IN RE:

   TAKATA AIRBAG PRODUCTS
   LIABILITY LITIGATION

   THIS DOCUMENT RELATES TO:
   ECONOMIC LOSS TRACK CASES


                          PLAINTIFFS’ RESPONSE TO
            AUTOMOTIVE DEFENDANTS’ NOTICE OF REGULATORY ACTION
          On November 6, 2015, the Automotive Defendants filed a Notice of Regulatory Action
   concerning the Consent Order into which NHTSA and Defendant TK Holdings, Inc. (“Takata”)
   recently entered and a NHTSA “Fact Sheet” summarizing the Consent Order. [Dkt. 843.]
   Absolutely nothing in the Consent Order or Fact Sheet, however, supports the Automotive
   Defendants’ motions to dismiss. Instead, the evidence described by NHTSA and the central
   provisions of the Consent Order—which require Takata to phase-out ammonium nitrate
   inflators—only confirm Plaintiffs’ core allegation that the use of ammonium nitrate as a
   propellant in inflators installed in Defendants’ vehicles constitutes a common, uniform defect.
          The suggestion, advanced by the Automotive Defendants without any explanation, that
   NHTSA’s investigation somehow demonstrates an inadequacy in Plaintiffs’ allegations
   regarding the Automotive Defendants’ knowledge has no merit. NHTSA’s report that “on a
   number of [unspecified] occasions, Takata supplied its customers with selective, incomplete or
   inaccurate data” does not come close to indicating that the Automotive Defendants were unaware
   that Takata’s inflators used ammonium nitrate or that ammonium nitrate is an unstable
   compound inappropriate for use in airbags.1

   1
    Indeed, it is not even clear from the NHTSA report whether “customers” refers to Plaintiffs, the
   end-users of Takata’s airbags, or the Automotive Defendants. And, of course, the NHTSA
Case 1:15-md-02599-FAM Document 844 Entered on FLSD Docket 11/10/2015 Page 2 of 5



          While the Automotive Defendants may want this Court to believe that they are the
   victims of Takata’s misconduct, Plaintiffs have alleged and Congressional testimony from
   Takata’s representative has confirmed that the Automotive Defendants were actually knowing
   participants in Takata’s fraudulent scheme to conceal the common, uniform defect present in
   Takata’s inflators [Dkt. 579, ¶¶ 9, 205-11], all of which must be accepted as true at this stage of
   the litigation. In addition, in its post-hearing submission, Defendant Ford even concedes that it
   cannot claim that “it was unaware of Takata’s general airbag designs or that Takata’s inflators
   contained phase stabilized ammonium nitrate.” [Dkt. 832 at 3.]
          In light of Plaintiffs’ allegations that Takata’s publicly-available patent documents also
   warned that an ammonium nitrate propellant “might even blow up,” consistent with the industry-
   wide knowledge that ammonium nitrate is unstable and better suited for demolitions than airbags
   [Dkt. 579, ¶¶ 205-10], it would be completely unreasonable to conclude—particularly at this
   stage of the litigation—that the sophisticated engineers employed by the Automotive Defendants
   were unaware of the serious risks that Takata’s inflators posed to the public. These allegations,
   in addition to those more fully described in Plaintiffs’ omnibus response to Defendants’ motions
   to dismiss and Plaintiffs’ response to Ford’s post-hearing submission, plead much more than
   “enough fact[s] to raise a reasonable expectation that discovery will reveal evidence of
   [Defendants’ misconduct],” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007), and thus
   easily satisfy the plausibility pleading requirement of the Federal Rules. Because Plaintiffs have
   adequately alleged that all Automotive Defendants were well aware of the common, uniform
   defect present in Takata’s inflators prior to installing those inflators in their vehicles, all
   Automotive Defendants are in the same position as to liability; any differences between them
   only pertain to damages.      The NHTSA Consent Order and Fact Sheet only support this
   conclusion.2




   investigation at issue aimed to determine the existence of a motor vehicle defect, see 49 U.S.C. §
   30l66, not whether the Automotive Defendants were aware of the defect when they
   manufactured and sold vehicles to class members.
   2
     If anything, the Consent Order demonstrates that this Court made the right decision in denying
   the motion to stay filed by several Automotive Defendants [Dkt. 737], for the pendency of this
   action clearly has not interfered with NHTSA’s investigation.
                                                       2
Case 1:15-md-02599-FAM Document 844 Entered on FLSD Docket 11/10/2015 Page 3 of 5



   Dated: November 10, 2015                         Respectfully submitted,
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Case 1:15-md-02599-FAM Document 844 Entered on FLSD Docket 11/10/2015 Page 4 of 5



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                                                 4
Case 1:15-md-02599-FAM Document 844 Entered on FLSD Docket 11/10/2015 Page 5 of 5



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                                    CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed

   on November 10, 2015, with the Clerk of the Court using CM/ECF. I also certify that the foregoing

   document is being served this day on all counsel of record via transmissions of Notices of Electronic

   Filing generated by CM/ECF.

                                                       By: /s/Peter Prieto
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